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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

Cynthia Thomas Bernard                                Case No. ______________
                                                      District Judge _____________
VERSUS                                                Magistrate Judge _____________

The United States of America


                               PLAINTIFF’S ORIGINAL
                              COMPLAINT FOR MONEY
                            DAMAGES AGAINST THE UNITED
                                STATES OF AMERICA


       NOW INTO COURT, through undersigned counsel, come Plaintiff, Cynthia Thomas

Bernard, and files this, her Original Complaint against Defendant, The United States of America

and United States, on the grounds set forth below.

                                   I.     Nature of the action

1.     Plaintiff files this personal injury action following a motor vehicle collision caused by an

employee of the United States Postal Service that struck Plaintiff’s vehicle in Lafayette Parish,

State of Louisiana.

                                            II. Parties

2.     Plaintiff, Cynthia Thomas Bernard, is a person of the full age of majority and resident

of, and domiciled in, the State of Louisiana.

3.     Defendant government of the United States of America, is the sovereign government of

this nation that has, pursuant to 28 U.S. Code §1346(b)(1), waived its sovereign immunity and

consented to be sued following personal injuries “caused by the negligent or wrongful act or

omission of any employee of the Government while acting within the scope of his office or

employment. . . .”
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4.     Mr. Donald R. Young, a non-party to this action, was, at all relevant times, an employee

of the United States Postal Service.

5.     The United States Postal Service is organized under 39 U.S. Code §201 as an

independent establishment of the executive branch of the United States of America. Pursuant to

3 U.S. Code §101, it is operated as a basic and fundamental service provided to the people by the

Government of the United States, authorized by the Constitution, created by Act of Congress,

and supported by the people.

                                         II. Jurisdiction

6.     This Court has subject matter jurisdiction over the claims in this action pursuant to 28

U.S. Code §§2674 and 1346(b)(1) because this is a tort action against an individual (Mr. Donald

R. Young) who, at the time of the offense, worked within the course and scope of his

employment with The United States Postal Service, a department of the government of the

United States of America.

       Venue is appropriate in this district pursuant to 28 U.S. Code 1391 as the motor

vehicle accident that is the subject of this action occurred within the Western District of

Louisiana.

7.     This Court has personal jurisdiction over all parties identified.

                                            III. Facts

8.     That on or about June 29, 2021 at approximately 3:52 p.m., Cynthia Thomas Bernard

was operating a 2010 Lexus ES 350 eastbound in the 800 block of 12th Street with a green traffic

signal and approaching the intersection with the 700 block of Surrey Street, in the Parish of

Lafayette, State of Louisiana.

9.     That at approximately the same time and place, Mr. Donald R. Young was operating a

1991 Chevrolet LLV (a United States Post Office vehicle) northbound on the 700 block of


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Surrey Street with a red traffic signal and approaching the intersection with the 800 block of 12th

Street in the Parish of Lafayette, State of Louisiana.

10.    That at approximately the same time and place, Mr. Young disregarded a red traffic

signal for northbound traffic on Surrey Street and entered the intersection with 12th Street and

without first ascertaining that the maneuver could be completed safely thereby striking the

passenger side of the vehicle operated by Cynthia Thomas Bernard, as she was lawfully

proceeding through the intersection.

               IV. COUNT I – Negligence under the Federal Tort Claims Act

11.    That Mr. Young owed a duty to operate the vehicle under his control with ordinary care.

12.    That Mr. Young breached this duty and the aforesaid accident sued on herein was his

fault of and proximately caused by him, in the following, non-exclusive, respects:

       A.      By entering an intersection without first ascertaining that the maneuver can be

               completed safely, without endangering vehicles already traveling in the

               intersection;

       B.      By disregarding a red traffic signal in violation of La. R.S. §32:232, and other

               law;

       C.      By failing to maintain reasonable and proper control of the vehicle under

               his control upon a public road;

       D.      By operating the vehicle under his control in a reckless and negligent manner;

       E.      By failing to see what should be seen; and

       F.      All other acts of negligence which were the cause of the accident sued upon and

               which will be shown at the trial of this matter.




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13.    That as a result of the aforesaid collision, Cynthia Thomas Bernard has sustained serious

injuries to her body and mind, including, without limitation, injuries to her: low back, head

(headaches), right shoulder, right hip, and right leg, together with past and future mental anguish

and physical suffering; past and future loss of enjoyment of life; past and future expenses for

medical care; and permanent impairment, along with damage to the vehicle that she operated, all

of which entitles Plaintiff, Cynthia Thomas Bernard, to recover from Defendant the damages as

are reasonable in the premises.

14.    At all relevant times herein, the non-party driver, Donald R. Young, was acting within the

course and scope of his employment with the United States Postal Service.

15.    Pursuant to 28 U.S. Code §2679(b)(1), the exclusive remedy for the negligent action or

omission of an employee of the United States Postal Service acting within the scope of his

employment at the time of the offense is a claim against the United States of America pursuant to

28 U.S. Code §§2672 and 2674, and all other actions against the individual or others are

precluded.

16.    Following the collision, Plaintiffs timely presented to the appropriate federal agency a

proper demand pursuant to 28 U.S. Code §2675 on November 4, 2021. A true and accurate copy

of that claim is attached as Exhibit A.

17.    A Signed and Stamped Letter showing delivery/receipt of Plaintiff’s demand by the

United States Postal Service on November 4, 2021 is attached as Exhibit B.

18.    On or about December 2, 2021, the United States Post Service acknowledged receipt of

that claim by letter. A true and accurate copy of that acknowledgment is attached hereto as

Exhibit C.




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19.    To date, The United States of America has not responded to Plaintiff’s administrative

demand and more than six months (May 4, 2022 being 6 months after November 4, 2021) have

passed making the present action ripe for judicial resolution.

       WHEREFORE, Plaintiff Cynthia Thomas Bernard prays, that after the expiration of all

legal delays and due proceedings are had, that there be judgment rendered herein in favor of

Plaintiff and against Defendant, The United States of America, for said judgment to bear legal

interest from the date of judgment until paid, for all costs of these proceedings, and for all legal

and equitable relief this Honorable Court shall deem appropriate.



                                                       RESPECTFULLY SUBMITTED:

                                                       MORRIS BART, LLC
                                                       ATTORNEYS FOR PLAINTIFF
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                                               BY:     /S/ DENNIS N. THOMSON
                                                       DENNIS N. THOMSON, NO. LA 29452


                                 CERTIFICATE OF SERVICE

       I hereby certify that I have filed the foregoing document via the Court’s ECF system on

this 6TH day of May, 2022, which will serve a true and accurate copy of the same on all counsel

of record to this proceeding.

                                                  /s/ DENNIS N. THOMSON
                                                  DENNIS N. THOMSON




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